 Case 15-15848-elf           Doc 41       Filed 03/18/20 Entered 03/18/20 12:01:26                Desc Main
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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: VIOLET JONES
                                   Debtor(s)                                        CHAPTER 13

New Residential Mortgage LLC
                                   Movant
                vs.
                                                                                  NO. 15-15848 ELF
VIOLET JONES
                                   Debtor(s)

William C. Miller
                                   Trustee
                                                                                11 U.S.C. Section 362

                        MOTION OF NEW RESIDENTIAL MORTGAGE LLC
                          FOR RELIEF FROM THE AUTOMATIC STAY
                                   UNDER SECTION 362

         1.         Movant is New Residential Mortgage LLC.

         2.         Debtor(s) is the owner(s) of the premises 195 Linton St, Philadelphia, Pa 19120, hereinafter

 referred to as the mortgaged premises.

         3.         Movant is the holder of a mortgage, original principal amount of $87,500.00 on the

 mortgaged premises that was executed on December 14, 2006. Said mortgage was recorded on December 20,

 2006 in Document ID 51596088. The mortgage was subsequently assigned to Movant by way of an

 Assignment of Mortgage recorded on February 18, 2020 in Document ID 53632900 in Philadelphia county.

         4.         William C. Miller, is the Trustee appointed by the Court.

         5.         The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor(s).

         6.         As of January 17, 2020, the unpaid principal balance is $69,731.45.

         7.         Debtor(s) has failed to make the monthly post-petition mortgage payments in the amount of

 $759.72 for August 2017; $444.82 for September 2017 through August 2018; $444.98 for September 2018

 through August 2019 and $474.82 for September 2019 through March 2020 with less of a suspense balance

 of $419.04.
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        8.        In addition to the other amounts due to Movant reflected in this Motion, as of the date

hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred $850.00 in

legal fees and $181.00 in legal costs. Movant reserves all rights to seek an award or allowance of such fees

and expenses in accordance with applicable loan documents and related agreements, the Bankruptcy Code

and otherwise applicable law.

        9.        The total amount necessary to reinstate the loan post-petition is $13,392.38 (plus attorney’s

fees & costs).

        10.      Movant is entitled to relief from stay for cause.

        11.       This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                          /s/ Rebecca A. Solarz, Esquire
                                                           Rebecca A. Solarz, Esquire
                                                           KML Law Group, P.C.
                                                           701 Market Street, Suite 5000
                                                           Philadelphia, PA 19106-1532
                                                           Phone: (215) 627-1322 Fax: (215) 627-7734
                                                          Attorneys for Movant/Applicant
